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                 IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

              Plaintiff and Counterclaim   Case No. 1:19-cv-11438-PBS
              Defendant,

   v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

             Defendant and Counterclaim
             Plaintiff.


 NUANCE COMMUNICATIONS, INC.’S STATEMENT OF FACTS AND RESPONSE
   TO OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S STATEMENT OF
 PURPORTED MATERIAL FACTS IN SUPPORT OF ITS MOTION FOR PARTIAL
   SUMMARY JUDGMENT FOR THE INVALIDITY OF U.S. PATENT 6,999,925
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        Pursuant to Local Rule 56.1 Plaintiff and Counterclaim Defendant Nuance

Communications, Inc. (“Nuance”) hereby submits this response to Defendant and Counterclaim

Plaintiff Omilia Natural Language Solutions, Ltd.’s (“Omilia”) Statement of Purported Material

Facts in Support of its Motion for Partial Summary Judgment for the Invalidity of U.S. Patent

6,999,925.

I.      RESPONSE TO OMILIA’S STATEMENT OF FACTS

                The ’061 patent, titled “Method and System for Generating Squeezed Acoustic

Models For Specialized Speech Recognizer,” issued from an application filed on August 14,

2000, that claims priority to a Foreign European Patent Application No. 99116684, filed on

August 25, 1999. See Ex. 1 to the Declaration of Hallie Kiernan (“Kiernan Decl.,” DN 211),

(“’061 patent”), at [22], [30], [54].

        Response: Undisputed.

                The ’061 patent names as inventors Volker Fischer, Siegfried Kunzmann, and

Claire Waast-Ricard. ’061 patent at [75]; see also Kiernan Decl. Ex. 2.

        Response: Undisputed.

                The inventors assigned the ’061 patent to International Business Machines

Corporation (“IBM”) in September 2000. ’061 patent at 1, [73].

        Response: Undisputed.

                The ’061 patent issued to IBM on September 7, 2004. ’061 patent at [45].

        Response: Undisputed.

                The ’061 patent claims a method and apparatus for automatically generating or

adapting a second speech recognizer from a first speech recognizer. See, e.g., ’061 patent,

Abstract, cl. 6 and 15.

        Response: Disputed. Omilia does not properly quote any claim language from the ’061

        patent and mischaracterizes claim terms; Nuance objects to Omilia’s use of claim terms

        out of context as misleading; the term “adapting” does not even appear in claims 6 and 15



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       of the ’061 patent; Nuance objects to Omilia’s statement as immaterial and irrelevant.

               The ’061 patent would have expired on or around January 31, 2021, but it instead

expired on September 7, 2008 due to IBM’s failure to pay maintenance fees. See ’061 patent at

[22], [*]; 35 U.S.C. § 154; Kiernan Decl. Ex. 3.

       Response: Undisputed.

               The ’925 patent, titled “Method and Apparatus for Phonetic Context Adaptation

For Improved Speech Recognition,” issued from an application filed on November 13, 2001, that

claims priority to Foreign European Patent Application No. 00124795, filed on November 14,

2000. Kiernan Decl. Ex. 4 (“’925 patent”) at [22], [30], [54].

       Response: Undisputed.
               The ’925 patent names as inventors Volker Fischer, Siegfried Kunzmann, Eric-W.

Janke, and Jon Tyrrell. ’925 patent at [75]; see also Kiernan Decl. Ex. 5.

       Response: Undisputed.

               Volker Fischer and Siegfried Kunzmann are also inventors of the ’061 patent.

Compare ’925 patent at [75] with ’061 patent at [75]; see also Kiernan Decl. Exs. 2 & 5.

       Response: Undisputed that Volker Fischer and Siegfried Kunzmann are named inventors

       of the ’061 patent; however, Nuance objects to this statement as misleading. The ’925

       patent has two other inventors not listed as inventors of the ’061 patent, who made

       patentable contributions to the ’925 patent.

               The inventors assigned the ’925 patent to IBM in October 2001. See Kiernan

Decl. Ex. 6 (NUANCE0000000412).

       Response: Undisputed.

               The ’925 patent issued to IBM on February 14, 2006. ’925 patent at [45].

       Response: Undisputed.

               The ’925 patent is not subject to a terminal disclaimer. See ’925 patent at 1, [*].

       Response: Undisputed that the ’925 patent is not currently subject to a terminal

       disclaimer; Nuance objects to Omilia’s statement as misleading and irrelevant; the ’925


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       patent should not be subject to any terminal disclaimer as it is a patentably distinct

       invention.

               The ’925 patent also claims a method and system for generating or adapting a

second speech recognizer from a first speech recognizer. See, e.g., ’925 patent, Abstract, cl. 1,

14, and 27.

       Response: Disputed. The ’925 patent does not “also” claim a method and system for

       generating or adapting a second speech recognizer from a first speech recognizer because

       the ’061 patent does not claim a method and system for generating or adapting a second

       speech recognizer from a first speech recognizer—Omilia does not properly quote any

       claim language from the ’061 patent and mischaracterizes claim terms; Nuance objects to

       Omilia’s use of claim terms out of context as misleading; the term “adapting” does not

       even appear in claims 6 and 15 of the ’061 patent; Omilia does not properly quote any

       claim language from the ’925 patent and mischaracterizes claim terms; Nuance objects to

       Omilia’s use of claim terms out of context as misleading; Nuance objects to Omilia’s

       statement as immaterial and irrelevant.
               The ’061 patent claims were not evaluated as an obviousness type double

patenting reference during the prosecution of the ’925 patent. ’925 patent at 1, [56].

       Response: Disputed. The Examiner expressly considered the ’061 Patent; in an October

       19, 2020 filing, the Examiner’s search strategy and results show that the Examiner

       specifically searched for “6789061” (the ’061 Patent’s full number) in the U.S. Patents

       database. Richey Decl. Ex. 1 (’925 Patent File History); Thus, the examiner considered

       the ’061 Patent, and did not enter an ODP rejection or a §§ 102/103 rejection; he is

       presumed to have done his job in declining to take such action, and any consideration of

       the validity of the ’925 Patent in view of the ’061 Patent would have implicated an ODP

       analysis. Moreover, the European patent application (EP99116684.4) that led to the ’061

       Patent, was cited, incorporated by reference, and distinguished in the specification of the

       ’925 Patent, identifying key distinctions between ’061 Patent’s disclosures and the


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       invention claimed in the ’925 Patent. Dkt. 211-4 (’925 Patent) at 6:57-7:17, 8:61-9:3.

                  The ’925 patent was assigned to Nuance Communications, Inc. when it purchased

the ’925 patent from IBM, along with other patents on December 31, 2008. See ECF No. 84-2 at

10.

       Response: Undisputed.

                  The ’925 patent will expire on or around October 12, 2023. See ’925 patent at 1,

[22], [*]; 35 U.S.C. § 154.

       Response: Undisputed.
                  United States Patent No. 6,912,499, titled “Method And Apparatus For Training

A Multilingual Speech Model Set,” (“Sabourin”), issued from an application filed on August 31,

1999, and is prior art under 35 U.S.C. § 102(e). See Kiernan Decl. Ex. 7, at [22], [54].

       Response: Undisputed that United States Patent No. 6,912,499 is titled “Method And

       Apparatus For Training A Multilingual Speech Model Set,” and issued from an

       application filed on August 31, 1999. Disputed as to Sabourin being prior art; Sabourin

       is not prior art to the ’061 patent, which has a priority date of August 25, 1999. See

       Omilia’s Statement of Facts #1; Ex. 1 to Kiernan Decl. at [22], [30], [54].

                  Nuance’s expert, Karen Livescu, in a declaration submitted in support of

Nuance’s claim construction on the issue of the meaning of a “second language” in the claims of

the ’925 patent stated that “[a] POSITA would understand that based on this language, both the

first domain and the second domain can include multiple languages, but need not do so.” Dkt.

No. 86 at ¶ 36.

       Response: Undisputed that Omilia has correctly quoted a passage from Karen Livescu’s

       declaration; Nuance objects to Omilia’s statement as an immaterial fact and irrelevant.

       The Court construed “second language” in its claim construction order; thus, any

       underlying facts as to the meaning of this term have been considered by the Court.

       Nuance further objects to Omilia’s use of this excerpt out of context as misleading.




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               Multilingual recognizers that recognized two or more languages were known by

November 14, 2000, the earliest priority date on the face of the ’925 patent. Declaration of

Jordan Cohen at ¶ 85 (and the materials cited therein).

       Response: Nuance is unable to discern what Omilia means by its vague statement that

       multilingual recognizers that “recognize two or more languages” were known by

       November 14, 2000, and therefore disputes it, as presented here, as a standalone

       assertion; Nuance objects to Omilia’s statement as immaterial, irrelevant, and out of

       context. Declaration of Chris Schmandt in Opposition to Defendant’s Motion for Partial

       Summary Judgment for the Invalidity of the ’925 Patent (“Schmandt Decl.”) ¶¶ 146-153.

II.    ADDITIONAL DISPUTED MATERIAL FACTS REQUIRING DENIAL OF
       PARTIAL SUMMARY JUDGMENT

               While the construction of patent claims is a question of law for a judge to

determine, claim construction may involve underlying factual disputes. Claim terms are

generally given their ordinary and customary meaning, which is the meaning that the term would

have to a person of ordinary skill in the art in question at the time of the invention. According to

the declaration of Omilia’s expert, Dr. Cohen, the following terms in claim 1 of the ’925 Patent

somehow correspond to different language in claim 6 of the ’061 Patent, thus requiring

construction before differences or equivalences can be identified: “acoustic model” (DN 210
¶¶ 47-50, 59); “decision network” (id.); “phonetic contexts” (id.); “adapted to” (id. ¶ 57);

“domain” (id. ¶¶ 55-56); “re-estimating the first decision network and said corresponding

phonetic contexts” (id. ¶¶ 58, 60, 62); “second acoustic model” and “second decision network”

(id. ¶¶ 59, 60); “based on domain-specific training data” (id. ¶ 63); “utilize a decision tree” (id.

¶ 67, 69); “number of nodes in the second decision network is not fixed by the number of nodes

in the first decision network” (id. ¶ 71); and “partitioning said training data using said first

decision network of said first speech recognizer” (id. ¶¶ 72-74). To the extent these claim terms

require construction, any underlying factual issues are disputed. See Schmandt Decl. ¶¶ 69-79.




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               Further, Dr. Cohen identifies several additional terms in claim 27 of the ’925

Patent as corresponding to language in the ’061 patent, thereby also requiring construction:

“receiving domain specific training data of a second domain” (DN 210 ¶ 81; see also id. ¶¶ 55-

56); and “wherein the first domain comprises at least a first language, wherein the second

domain comprises at least a second language, and wherein the second speech recognizer is a

multi-lingual speech recognizer.”     (Id. ¶¶ 82-94) To the extent these claim terms require

construction, any underlying factual issues are disputed. See Schmandt Decl. ¶¶ 143-152.

               Furthermore, according to Dr. Cohen, the following additional terms in claim 6 of

the ’061 Patent are the terms to which language in claim 1 of the ’925 Patent allegedly

corresponds, meaning that these terms must also be construed: “set of states” (DN 210 ¶¶ 51-53,

61, 64-66, 68, 69); “set of probability density functions” (id. ¶ 51); “distinctive of” (id. ¶ 57);

“application” (id. ¶¶ 55-56); “selecting a subset of states” (id. ¶¶ 59, 61, 62, 71); “exploits

application specific training data” (id. ¶ 63); and “associating a multitude of speech frames of the

training data with the correct states of the first speech recognizer” (id. ¶¶ 72-74). To the extent

these claim terms require construction, any underlying factual issues are disputed. See Schmandt

Decl. ¶¶ 69-79.
               The primary purpose of the ’061 Patent’s invention is to minimize the resources

required of a speech recognizer, so it can run on a less powerful computational platform and/or

with a smaller memory footprint. See in general col. 1:66 – 2:35. The patent describes a way to

determine which parts of the acoustic model of an initial, general purpose, recognizer are

required for adequate performance on a specific task or domain, and then remove the parts which

do not contribute much to recognition performance, to obtain a smaller recognizer, which may be

important in circumstances where the general purpose recognizer would require too many

resources (e.g., memory and/or computing power). Schmandt Decl. ¶ 54.

               This is referred to as “squeezing” and “pruning” the recognizer, i.e. removing, or

subsetting, some portions of the acoustic model which are less appropriate for a specific and

limited application, as opposed to the more general purpose speech recognizer. Specifically, this


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is done by starting with the set of states of the general recognizer, then choosing a subset of

Hidden Markov Model (“HMM”) states – squeezing – and pronunciation probability density

functions (“PDFs”) – pruning – associated with some of those states (col. 2:15-25), based on

which of those HMM states and PDFs are most likely to have produced each frame of the

application-specific speech training data (col. 7:3-8). This process does not have the ability to

change the phonetic contexts of the general purpose speech recognizer (and in fact it has no

access to the phonetic context decision tree). It can only delete some of the states, which had

been previously derived by sorting acoustic training data using the decision tree based on their

phonetic contexts. Schmandt Decl. ¶ 55.

              To squeeze HMM states, the training data is “Viterbi aligned” with the set of

HMM states. Viterbi alignment is a process to determine which of the states would most likely

produce a correct transcription, on a frame-by-fame basis. Those states which appear frequently

after alignment with the training data are more important to correct recognition and must be

retained. Those states which are seen infrequently may be subject to squeezing (col. 6:8-33).

Schmandt Decl. ¶ 56.

              Similarly, the sets of PDFs can be pruned by comparing the acoustic outputs that

each surviving state produces versus each matched acoustic frame. Since the GMMs (Gaussian

Mixture Models) describe a mixture of base output probability PDFs, it is possible to determine

how similar the various PDFs in the mixture are to the actually recorded acoustic features, on a

frame by frame basis. If the training data contains speech which maps well to only one of the

acoustic outputs, the other PDFs may be pruned (col. 6:34-51). Put another way, if an HMM

state can, via its acoustic realization PDFs, cover several ways that particular phonemic context

may be spoken, but only one of those ways of speaking is encountered in the training data, then

the remaining (non-encountered) ways of speaking can be removed. Schmandt Decl. ¶ 57.

              The ’925 Patent teaches an improved method for efficiently refining a speech

recognizer to better handle particular domains (such as languages, dialects, task areas, or user-

specific information, see col. 6:3-8, 9:6-23). At the time of the claimed invention of the ’925


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Patent, general purpose, large vocabulary, continuous speech (the way humans speak when

talking normally, and a more difficult type of speech for recognizers to process as compared to

words spoken with pauses between each word) recognizers were known in the art and were in

general usage. However, while such speech recognizers provide good overall speech recognition

quality, when a use-case centers on a specific domain – which may differ from the domain of the

general-purpose speech recognizer in terms of its vocabulary, dialect, acoustic conditions, and so

on – the speech recognition accuracy may not be as high as would be possible with a more

specialized speech recognizer. Schmandt Decl. ¶ 59.

               While additional domains may be similar or related to the general-purpose

domain, there may be particular phonetic contexts—particular ways that words are pronounced,

or that words or sub-word units are used in sequence together—that are characteristic of the

domain. In such cases, taking domain-specific data into consideration can improve the accuracy

of a speech recognizer for a particular context of use. But using the invention of the ’925 Patent,

there is not a need to completely train the new speech recognizer from scratch, particularly if

there are parts (even, perhaps, substantial parts) of the original speech recognizer that can be

used in combination with a (smaller) set of specialized data to adapt the recognizer to the new

domain. Schmandt Decl. ¶ 60.

               Prior art methods of providing domain-specific speech recognizers tended to

entail either merely “select[ing] a domain specific subset from the phonetic context inventory” of

the general-purpose recognizer, or extensively-retraining a speech recognizer, based on a large,

specialized dataset. See generally col. 1:15 - 2:17, quotation from col. 2:1-3. By contrast, the

inventions claimed in the ’925 Patent start with a general purpose, large vocabulary speech

recognizer, and by adding only a modest amount of additional specialized training data

(“adaptation data,” see col. 2:56) to the initial dataset, are able to efficiently provide a new,

specialized speech recognizer that includes the new training data and new phonetic contexts.

Because the collection of training data and subsequent training of a speech recognizer is




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expensive and time consuming, adapting a general purpose speech recognizer to a specific

domain greatly reduces development costs and time to market. Schmandt Decl. ¶ 61.

               The technique disclosed in the ’925 Patent is to start with the original decision

network and efficiently recalculate it via the use of a smaller amount of domain-specific training

data. The data is processed through the decision network in the same way as the original training

data was processed to produce the original recognizer, and the new data is allowed to modify the

decision tree in the process. The split-and-merge methods described for both the original and

new adaptation data control the decision tree’s topology. In the process of keeping a balance

while partitioning the training data – separating it into the various leaf nodes of the tree to

provide audio frame material to create the acoustic model – nodes may be added or removed at

any level in the decision tree. Once all the adaptation data has been processed and a new

phonemic decision tree thereby created, the acoustic model can be generated. Schmandt Decl. ¶

62.
               The inventors of the ’925 Patent acknowledge and distinguish that patent from the

techniques of the ’061 Patent. Repeatedly throughout the ’925 Patent, the specification discusses

and distinguishes European patent application EP 99116684.4, which the ’061 Patent indicates

on its face is the application from which the ’061 Patent claims priority. Schmandt Decl. ¶ 63.

               Starting at col. 6:32, the inventors describe the training procedure of a speech

recognizer as a two stage process, “1.) the determination of relevant acoustic contexts and 2.) the

estimation of acoustic model parameters.” (Col. 6:34-36 (emphasis added). They then describe

how some existing approaches (MAP, MLLR) focus exclusively on re-estimation of the acoustic

model parameters, “Importantly, these approaches leave the phonetic contexts unchanged.”

(Col. 6:44). At this point, the inventors have articulated two distinct approaches, and the ’925

Patent’s invention will be seen (in the rest of the specification) to correspond to the first. They

point out that the second set of techniques have heretofore been mostly used to adapt speaker

independent recognizers to a particular user (col. 6:47-49). Schmandt Decl. ¶ 64.




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               The inventors go on (col. 6:50) to discuss additional techniques of modifying

acoustic models to achieve better domain specific speaker independent recognition. Here they

cite to EP 99116684.4 (from which the ’061 Patent claims priority) describing it as “selecting a

subset of probability density functions (PDFs) being distinctive for the domain.” (Col. 6:63-64).

Schmandt Decl. ¶ 65.

               They specifically distinguish the ’925 Patent invention from the EP invention,

characterizing the two approaches as “orthogonal[] to” each other, because the ’925 Patent

invention “focuses on re-estimation of phonetic contexts or – in other words – the adaptation of

the recognizer’s sub-word inventory to a special domain.” Col. 6:66 - 7:2. This phonetic context

is what was called out in part 1) (above) of the description of the bifurcation of two major

approaches at col. 6:32. As the inventors state here, the ’925 Patent recalculates the phonetic

context, while the ’061 Patent has nothing to do with it. Schmandt Decl. ¶ 66.
               Column 7 goes on to explain clearly how the invention of the ’925 Patent is

different: “Whereas in any speaker adaptation algorithm, as well as in the above mentioned

documents of V. Fischer et al., the phonetic contexts once estimated by the training procedure

are fixed, the present invention utilizes a small amount of upfront training data for the domain

specific insertion, deletion, or adaptation of phones in their respective context.       Thus re-

estimation of the phonetic contexts refers to a (complete) recalculation of the decision network

and its corresponding phonetic contexts based on the general speech recognizer decision

network. This is considerably different from just ‘selecting’ a subset of the general speech

recognizer decision network and phonetic contexts or simply ‘enhancing’ the decision network

by making a leaf node an interior node by attaching a new sub-tree with new leaf nodes and

further phonetic contexts.” (Col. 7:2-17). Schmandt Decl. ¶ 67.

               To be clear, the inventors themselves describe above how the ’925 and ’061

Patents differ. In no uncertain terms, they state that the ’925 Patent’s invention “is considerably

different” from the ’061 Patent, and that the two patents describe two distinct approaches to




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solving two different problems in computerized speech recognition. (Col. 7:12). Schmandt Decl.

¶ 68.

               A POSITA would understand that the claim language of claim 6 of the ’061

Patent identified in the table below is different from the claim language of claim 1 of the ’925

patent identified in the table below, for the reasons set forth in Schmandt Decl. ¶¶ 80-98.

             Claim 6 of ’061 Patent                            Claim 1 of ’925 Patent

 wherein the first speech recognizer includes a said first speech recognizer comprising a first
 set of states and a set of probability density acoustic model with a first decision network
 functions assembling output probabilities for and corresponding first phonetic contexts
 an observation of a speech frame in the states,

               A POSITA would understand that the claim language of claim 6 of the ’061

Patent identified in the table below is different from the claim language of claim 1 of the ’925

patent identified in the table below, for the reasons set forth in Schmandt Decl. ¶¶ 99-108.


             Claim 6 of ’061 Patent                           Claim 1 of ’925 Patent
 generating, from the set of states of the first   based on said first acoustic model, generating
 speech recognizer, a set of states of the         a second acoustic model with a second
 second speech recognizer by selecting a           decision network and corresponding second
 subset of states of the first speech recognizer   phonetic contexts for said second speech
 . . . and                                         recognizer by re-estimating said first decision
 generating, from the set of probability density   network and said corresponding first phonetic
 functions of the first speech recognizer, a set   contexts
 of probability density functions of the second
 speech recognizer by selecting a subset of
 probability density functions of the first
 speech recognizer being distinctive of the
 particular application, such that the second
 speech recognizer is at least one tailored to
 the particular application and requires reduced
 resources compared to the first speech
 recognizer.
               A POSITA would understand that the claim language of claim 6 of the ’061

Patent identified in the table below is different from the claim language of claim 1 of the ’925

patent identified in the table below, for the reasons set forth in Schmandt Decl. ¶¶ 109-112.



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             Claim 6 of ’061 Patent                         Claim 1 of ’925 Patent
 wherein selecting at least one of the subset of based on domain-specific training data,
 states and the subset of probability density
 functions of the first speech recognizer
 exploits application specific training data.
               A POSITA would understand that the claim language of claim 6 of the ’061

Patent identified in the table below is different from the claim language of claim 1 of the ’925

patent identified in the table below, for the reasons set forth in Schmandt Decl. ¶¶ 113-122.

             Claim 6 of ’061 Patent                           Claim 1 of ’925 Patent

 wherein the first speech recognizer includes a    wherein said first decision network and said
 set of states and a set of probability density    second decision network utilize a phonetic
 functions assembling output probabilities for     decision [t]ree to perform speech recognition
 an observation of a speech frame in the states,   operations

               A POSITA would understand that the claim language of claim 6 of the ’061

Patent identified in the table below is different from the claim language of claim 1 of the ’925

patent identified in the table below, for the reasons set forth in Schmandt Decl. ¶¶ 123-126.

           Claim 6 of the ’061 Patent                        Claim 1 of the ’925 Patent

 generating, from the set of states of the first wherein the number of nodes in the second
 speech recognizer, a set of states of the decision network is not fixed by the number
 second speech recognizer by selecting a of nodes in the first decision network
 subset of states of the first speech recognizer .
 . . generating, from the set of probability
 density functions of the first speech
 recognizer, a set of probability density
 functions of the second speech recognizer by
 selecting a subset of probability density
 functions of the first speech recognizer

               A POSITA would understand that the claim language of claim 6 of the ’061

Patent identified in the table below is different from the claim language of claim 1 of the ’925

patent identified in the table below, for the reasons set forth in Schmandt Decl. ¶¶ 127-130.




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            Claim 6 of the ’061 Patent                   Claim 1 of the ’925 Patent
 wherein selecting the subset of states and wherein said re-estimating comprises
 comprises associating a multitude of speech partitioning said training data using said first
 frames of the training data with the correct decision network of said first speech
 states of the first speech recognizer        recognizer


               The differences between claim 6 of the ’061 Patent and claim 1 of the ’925 Patent

render claim 1 of the ’925 Patent patentably distinct. Schmandt Decl. ¶¶ 131-139.

               When comparing claim 6 of the ’061 Patent and claim 1 of the ’925 Patent as a

whole, claim 1 of the ’925 Patent is patentably distinct. Schmandt Decl. ¶ 140.
               The substantive terms of ’925 Patent claim 14 (a dependent claim that includes

the limitations of claims 10, 11, 13, 14 and 15) are patentably distinct from ’061 Patent claim 15

for the same reasons that claim 1 of the ’925 Patent is patentably distinct from claim 6 of the

’061 Patent. Schmandt Decl. ¶ 141; id. ¶¶ 80-140.

               ’925 Patent claim 27 is patentably distinct from ’061 Patent claim 6 for the same

reasons as claim 1. Schmandt Decl. ¶¶ 145-177; id. ¶¶ 80-140.

               The final limitation of claim 27, “wherein the first domain comprises at least a

first language, wherein the second domain comprises at least a second language, and wherein the

second speech recognizer is a multi-lingual speech recognizer,” is simply absent from claim 6 of

the ’061 Patent; therefore, this limitation, and claim 27 as a whole, are not an obvious variant of

’061 Patent claim 6. Schmandt Decl. ¶ 145; compare ’061 Patent claim 6 with ’925 Patent claim

27.

               The Schultz paper attached to Dr. Cohen’s declaration as Exhibit D, “Multilingual

and Crosslingual Speech Recognition,” apparently to demonstrate that multilingual recognizers

were known in the art. While perhaps true, Dr. Cohen has failed to demonstrate that any concept

in this publication mapped to the invention disclosed in the ’925 Patent. Further, in conducting

the ODP analysis, it is not permissible to combine the reference patent with other prior art. In

fact, the paper discusses multilingual recognizers which are designed up front for multiple

languages, based on creating an entirely new recognizer by initially combining training data from


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multiple languages which have been pre-selected to give broad phoneme coverage. This does

not correspond to the invention claimed in the ’925 Patent, and is different from the ’925 Patent

process of re-estimation to augment a first recognizer (that includes a first language) with a

second domain that ultimately results in a multi-lingual recognizer. The paper also discusses

“crosslingual” recognition in which “the developed multilingual systems are applied to recognize

new unseen languages without any additional training” (Schultz Exhibit D at p. 5, emphasis

original). The ’925 Patent is clearly a different technique which relies on additional training

data. See Schmandt Decl. ¶¶ 153.

               The differences of claim 27 of the ’925 Patent and claim 6 of the ’061 patent are

patentably distinct over the Schultz paper attached to Cohen’s declaration as Exhibit D, the

Schultz paper attached to Cohen’s declaration as Exhibit E, the Schultz paper attached to

Cohen’s declaration as Exhibit G, and Sabourin reference attached to Cohen’s declaration as

Exhibit F. Schmandt Decl. ¶¶ 153-171.

               The Sabourin patent, attached to Cohen’s declaration as Exhibit F, is completely

distinct from claim 27 of the ’925 Patent. Sabourin does not contribute in any way to the claims

of the ’061 Patent in comparing them to the ’925 Patent. Sabourin describes in detail a process

for creation of a multi-lingual recognizer. It begins with letter to sound rules (found in neither

the ’061 Patent nor the ’925 Patent, both of which use phonetically labelled or HMM aligned

training data) which allow training data to be assigned to an apparently hand selected set of pre-

determined phonemes for the joint languages. This rule set is not built computationally but

rather by a trained linguist (col. 5:21-22). Phonemes in the second language are initially mapped

to the nearest phonemes in the first language, not by a decision tree, but rather by evaluating

similarity, based on a phonemic feature description of the phonemes (again, determined by a

linguist or phonetician), finding which old phoneme is minimally different from the new one by

minimizing a “transformation” rule, which basically compares which articulatory features are

similar or different across the set of old phonemes. After this is done, the recognizer for the new

language can be further adapted to the new pronunciations using maximum a posterior


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adaptation (MAP), which is a process of updating HMM models with new data after they have

been initially modeled by training data. But this technique is specifically taught away from in

the ’925 Patent and the ’061 Patent. “Adaptation techniques known the (sic) within the state of

the art, for example maximum a posteriori adaptation (MAP) or maximum likelihood linear

regression (MLLR)…        exclusively target the adaptation of the HMM parameters based on

training data. Importantly, these approaches leave the phonetic contexts unchanged; that is, the

decision network and the corresponding phonetic contexts are not modified by these

technologies.” (’925 Patent at col. 6:36-46); (see also ’061 Patent at col. 4:29-34 (“The proposed

solution according to the present invention to the above-mentioned problems is orthogonal to

approaches which exploit speaker adaptation techniques, like, e.g., maximum a posteriori

adaptation (MAP)…”). Eventually Sabourin does mention decision trees, but only in the context

of splitting phonemes into allophones – i.e. variants of the phoneme with different acoustic

realizations. But a separate HMM is not trained for each, but rather the allophone is adapted

from the original HMM using, once again, MAP adaptation (col. 11:34). Schmandt Decl. ¶¶

160, 162, 164-166, 171.

               The Schultz paper submitted as Exhibit G to the Cohen declaration is different

from both the ’061 Patent and the ’925 Patent. It is not evident how the doubling of some

phonemes in this Schultz reference is in any way related to the deletion of phonemes (or states)

in the ’061 Patent. Further, the doubling in Schultz is contradictory to the methods of the ’925

Patent, which maintain the richness of the original decision network while enhancing, or adding

to it, with the new adaptive training data. There is no need to “make do” with existing contexts

in the ’925 Patent, because its very goal is the ability to incorporate new contexts into the

decision tree generation of the multilingual recognizer. Schmandt Decl. ¶ 170.




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Date: January 7, 2021         Respectfully submitted,


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